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                                                                                   FILED
                                                                                TIME     J:S'/ f~

                             UNITED STATES DISTRICT COURT                           NOV 3 0 2017
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION                                RICHARD W. NAGEL
                                                                                     Clerk of Court
                                                                                   CINCINNATI, OHIO

IN THE MATIER OF THE SEARCH OF
INFORMATION ASSOC IATED WITH                          Case No.   l 11'7MJ -937
                                                                 ~~~~~~~~-




614.551.1268, THAT IS STORED AT
PREMISES CONROLLED BY VERIZON                         Filed Under Seal
WIRELESS

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       Your Affiant, Peter A. Lakes, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.      Your Affiant makes this affidavit in support of an application for a search warrant

for information associated with cellular telephone number, 614.551.1268, (Target Telephone)

that is stored at premises owned, maintained, controlled, or operated by Verizon Wireless, a

wireless telephone service provider headquartered at 180 Washington Valley Road, Bedminster,

NJ 07921    The information to be searched is described in the following paragraphs and in

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) to require Verizon Wireless to disclose to

the government records and other information in its possession pertaining to the subscriber or

customer associated with the accounts, including the contents of communications.

       2.      Your Affiant is an FBI Special Agent, and have been so employed since April

1995 . Your Affiant has conducted investigations into criminal enterprises, narcotics

investigations, organized crime, and violent crimes to include the unlawful possession,

possession with the intent to distribute, and actual distribution of controlled substances, as well

as the associated conspiracies in violation of Title 21 , United States Code, Sections 84l(a)(l) and

846. Your affiant has also participated in the execution of federal search warrants and federal
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arrest warrants in relation to these investigations. Additionally, your affiant has participated in

the installation and monitoring of tracking devices for vehicles in order to determine the

whereabouts of believed drug traffickers and their illicit merchandise. Your affiant has also been

involved with the monitoring of Title III Wire intercepts, and analysis of pen registers related to

narcotics and gang investigations. Your affiant is familiar with their methods of concealing the

whereabouts of their illegal drugs, the methods they use to keep law enforcement officers from

finding evidence of drug trafficking operations as well as the methods they use to prevent others

unfamiliar with their criminal conduct from observing things indicative of drug trafficking. Your

affiant is also familiar with the paranoia surrounding most drug traffickers and the common ways

in which wholesale drug distributors attempt to conceal their assets, their purchases, and other

financial dealings that could be traced to them.

       3.      During the course of his law enforcement career Your Affiant has conducted and

participated in the investigation of numerous criminal offenses, including those involved in the

current investigation. Your Affiant has participated in illicit drug trafficking investigations,

violent crimes investigations, and gangs and criminal enterprise investigations, ranging from

street level dealers to major drug suppliers. These investigations have also included the unlawful

importation, possession with intent to distribute and distribution of illegal substances, the related

money laundering instruments, the conducting of monetary transactions involving the proceeds

of specified unlawful activities, and conspiracies associated with criminal narcotics offenses.

These investigations during my career, which have resulted in the seizure of narcotics, arrests of

suspects, their prosecution, conviction; have involved: the use of confidential informants; the

analysis of pen registers, trap and trace, and toll records; physical surveillances; electronic

surveillances to include the use of poll cameras and vehicle cameras; and the execution of search

warrants.




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        4.     Through training and experience Your Affiant is aware that drug traffickers often

communicate with their customers, couriers, and/or associates through the use of standard hard-

line telephones, cellular telephones and digital display paging devices, or use of multiple

telephones or other devices, to avoid detection by law enforcement.        Facts set forth in this

affidavit are based on personal knowledge derived from Affiant's participation in this

investigation and upon information and belief.      The sources of my information and belief

include:

               a. Oral and written reports about this and other investigations which have been
                  received from Special Agents of the FBI and other law enforcement
                  authorities;

               b. Physical surveillance conducted by Special Agents of the FBI or other law
                  enforcement authorities and which have been reported to Affiant either
                  directly or indirectly.

        5.     This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.

        6.     Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 21 USC §§ 841 and 846 have been or are

being committed by Joseph Brodbeck, and other as-yet unknown individuals.           There is also

probable cause to search the information described in Attachment A for evidence of these

crimes, as described in Attachment B.

                                     PROBABLE CAUSE

        7.     Your Affiant was contacted by a Confidential Source (CSl) regarding the

smuggling of narcotics into the London Correctional Institution (LoCI) in London, Ohio. CS 1

has provided information in the past that has been corroborated by independent investigation and

has resulted in arrests of individuals for violent crimes. Therefore, Affiant considers CS I to be

reliable.




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       8.     CS I advised an Aramark employee working in the kitchen at LoCI was bringing

in narcotics that are being distributed to inmates within LoCI. CS 1 explained an inmate who is

assigned to work in the kitchen that CSl knows as "Blevins", was the inmate who was

coordinating the distribution of the drugs inside the prison. If an inmate wants narcotics inside

the prison, he gives Blevins a phone number of a friend or family member on the outside who

has obtained the narcotics on behalf of the inmate. Blevins then provides the number to the

Aramark employee who calls the number provided and arranges a pick- up of the narcotics. The

Aramark employee then travels to meet the inmate's friend or family member, picks up the

narcotics and delivers the narcotics to Blevins. Blevins then takes one-quarter ounce of the

narcotics and provides the remainder to the inmate who originally provided the phone number to

Blevins. The inmate who receives the drugs from Blevins then distributes or uses the drugs

inside the prison. CSl went on to advise the Aramark employee is paid $1,000 by the inmate's

friend or family when he picks up the narcotics to be delivered to Blevins. Furthermore, Blevins

does not allow the inmates to know which Aramark employee is making the pick-ups and

deliveries, nor does he allow the Aramark employee to know which inmate(s) are receiving the

narcotics. CS 1 also advised Blevins is a user of methamphetamine.

       9.     CSI advised one individual who had received narcotics through Blevins and the

Aramark employee is Schawn Little. CS 1 is aware that Little provided the phone number of his

mother to Blevins and then received narcotics from Blevins after the Aramark employee received

narcotics from Little's mother. CS l also is aware that the Aramark employee was given $1,000

from Little's mother when he picked up the drugs to be delivered to LoCI. Finally, CSl opined

there were five or six inmates who were obtaining narcotics inside LoCI through Blevins and the

Aramark employee.

       I 0.   Your Affiant has been advised by the investigators at LoCI that an inmate known

as Adam Blevins is currently working in the kitchen at LoCI. Your Affiant has also been


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advised by the investigators that Schawn Little is currently incarcerated at LoCI and recorded

prison calls between Little and his mother, Lisa Spicer, were reviewed and confirm that Little

directed his mother to gather drugs and provide same to an individual who was then to deliver

these drugs to the prison.

         11.   On or about September 12, 201 7, your Affiant was advised by investigators at

LoCI that Little had been tested for drug use and had tested positive for use of Suboxone.

         12.   Investigation by Affiant and others has identified 614.551.1268 (Target

Telephone) as the number that contacted Lisa Spicer to arrange the pick-up of drugs to be

smuggled into LoCI to Blevins on behalf of Little.

         13.   A search of Facebook for the Target Telephone resulted in the identification of

JOSEPH BRODBECK.             On BRODBECK's Facebook page he identifies himself as a Food

Service Manager at Aramark.

         14.   On September 14, 2017, investigators at LoCI advised BRODBECK is employed

by Aramark at LoCI in the kitchen.

         15.   On or about October 10, 2017, pursuant to an administrative subpoena, Verizon

Wireless confirmed to your Affiant that the Target Telephone was subscribed to by JOSEPH

BRODBECK.

         16.   Through a search of OHLEG your Affiant learned that BRODBECK was

convicted in 1987 for trafficking in Dangerous Drugs and was sentenced to 3 to 15 years in state

pnson.

         17.   On October 2017, your Affiant was advised by investigators at LoCI that a

Correctional Officer conducted a search in the prison and Adam Blevins was found to be in

possession of methamphetamine and Suboxone.

         18.   On or about October 20, 2017, your Affiant sought and was granted by the United

States District Court for the Southern District of Ohio, an Order authorizing the installation and


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monitoring of a Global Positioning Satellite (GPS) Tracking Device on the vehicle used by

BRODBECK. On or about October 30, 2017, your Affiant and FBI Task Force Officers (TFOs)

installed a GPS system on BRODBECK's vehicle.

       19.     Review of the GPS information indicates BRODBECK traveled to Springfield,

Ohio, on November 15, 2017 and made a brief stop at approximately 7:55 pm in the vicinity of

State Route 72 and Lansdowne Avenue.

       20.    Your Affiant reviewed and analyzed call detail information provided by Verizon

Wireless, pursuant to an Administrative Subpoena issued on or about November 21, 2017. Your

Affiant submits that on November 15, 2017, at approximately 6:12 pm, the Target Telephone

received two SMS messages from 937.536.3909. Your Affiant has learned through investigation

this number is in frequent contact with two inmates who are housed at LoCI.              Further

investigation through open source database searches revealed this number was associated with

Mykala Johnson, 1120 E. John Street, Springfield, Ohio. Your Affiant notes E. John Street is

approximately four city streets away from the location identified by the GPS Unit as a brief stop

near State Route 72 and Lansdowne Avenue.

       21.     Your Affiant, based on his training, knowledge and experience, believes the SMS

messages sent from 937.556.3909 to the Target Telephone were likely messages sent to

coordinate a meeting between Mykala Johnson and BRODBECK.

       22.     Your Affiant has also reviewed the data provided by the GPS tracking device for

November 17, 2017. Information provided by the GPS tracking device indicates BRODBECK

traveled to Dayton, Ohio, and made a brief stop near the intersection of Gettysburg and Hoover

on the west side of Dayton. This brief stop occurred at approximately 7:55 pm.

       23 .    Your Affiant has also reviewed the call detail provided by Verizon Wireless for

this date and noticed outgoing SMS messages from the Target Telephone to 937.503.1920 and

incoming messages to the Target Telephone from 937.503.1920. A total of four SMS messages


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were sent/received between the Target Telephone and 937.503.1920 from 7:55 to 7:56 pm.

Your Affiant has learned through investigation that 937.503.1920 has been in frequent contact

with one inmate who is housed at LoCI. Further investigation through open source database

searches revealed this number was associated with Evette Taylor, 2921 Melbourne Avenue,

Dayton, Ohio. Your Affiant notes Melbourne A venue is approximately three city streets away

from the location identified by the GPS Unit as a brief stop near Gettysburg and Hoover.

       24.     Your Affiant, based on his training, knowledge and experience, believes the SMS

messages sent between 937.556.3909 and the Target Telephone, were likely messages sent to

coordinate a meeting between Evette Taylor and BRODBECK.

       25.     The requested information will assist law enforcement in identifying the location

of the Target Telephone, which is relevant in: (a) locating the sources of supply; (b) identifying

additional locations where quantities of narcotics and contraband are being stored; and ( c)

identifying additional co-conspirators in the organization.

       26.     In his training and experience, your Affiant has learned that Verizon Wireless is a

company that provides cellular telephone access to the general public, and that stored electronic

communications, including retrieved and unretrieved voicemail, text, and multimedia messages

for Verizon Wireless subscribers may be located on the computers of Verizon Wireless. Further,

your Affiant is aware that computers located at Verizon Wireless contain information and other

stored electronic communications belonging to unrelated third parties.

       27.     Among the services commonly offered by wireless phone providers is the

capacity to send short text or multimedia messages (photos, audio, or video) from one

subscriber's phone or wireless device to another phone or wireless device via one or more

wireless providers. This service is often referred to as "Short Message Service" ("SMS") or

"Multimedia Messaging Service" ("MMS"), and is often referred to generically as "text

messaging" or "wireless messaging." Based on his knowledge and experience, your Affiant


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believes that stored electronic communications, including SMS and MMS messages that have

been sent or received by subscribers, may be stored by Verizon Wireless for short periods

incident to and following their transmission. In addition, providers occasionally retain printouts

from original storage of text messages for a particular subscriber's account.

       28.     Wireless phone providers typically retain certain transactional information about

the use of each telephone, voicemail, and text-messaging account on their systems.           This

information can include log files and messaging logs showing all activity on the account, such as

local and long distance telephone connection records, records of session times and durations,

lists of all incoming and outgoing telephone numbers or e-mail addresses associated with

particular telephone calls, voicemail messages, and text or multimedia messages. Providers may

also have information about the dates, times, and methods of connecting associated with every

communication in which a particular cellular device was involved.

       29.     Many wireless providers retain information about the location in which a

particular communication was transmitted or received. This information can include data about

which "cell towers" (i.e., antenna towers covering specific geographic areas) received a radio

signal from the cellular device and thereby transmitted or received the communication in

question.

       30.     Wireless providers may also retain text messagmg logs that include specific

information about text and multimedia messages sent or received from the account, such as the

dates and times of the messages. A provider may also retain information about which cellular

handset or device was associated with the account when the messages were sent or received.

The provider could have this information because each cellular device has one or more unique

identifiers embedded inside it. Depending upon the cellular network and the device, the

embedded unique identifiers for a cellular device could take several different forms, including an

Electronic Serial Number ("ESN"), a Mobile Electronic Identity Number ("MEIN"), a Mobile


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Identification Number (" MIN"), a Subscriber Identity Module (" SIM"), an International Mobile

Subscriber Identifier ("IMSI"), or an International Mobile Station Equipment Identity (" IMEi").

When a cellular device connects to a cellular antenna or tower, it reveals its embedded unique

identifiers to the cellular antenna or tower in order to obtain service, and the cellular antenna or

tower records those identifiers as a matter of course.

       31.     Wireless providers also maintain business records and subscriber information for

particular accounts. This information could include the subscribers' full names and addresses,

the address to which any equipment was shipped, the date on which the account was opened, the

length of service, the types of service utilized, the ESN or other unique identifier for the cellular

device associated with the account, the subscribers' Social Security Numbers and dates of birth,

all telephone numbers and other identifiers associated with the account, and a description of the

services available to the account subscribers. In addition, wireless providers typically generate

and retain billing records for each account, which may show all billable calls (including outgoing

digits dialed). The providers may also have payment information for the account, including the

dates and times of payments and the means and source of payment (including any credit card or

bank account number).

       32.     In some cases, wireless subscribers may communicate directly with a wireless

provider about issues relating to the account, such as technical problems, billing inquiries, or

complaints from other users.         Wireless providers typically retain records about such

communications, including records of contacts between the user and the provider's support

services, as well records of any actions taken by the provider or user as a result of the

communications.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       33.     Your Affiant      anticipates executing     this warrant under the         Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and


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2703(c)(I )(A), by using the warrant to require Verizon Wireless to disclose to the government

copies of the records and other information (including the content of communications)

particularly described in Section I of Attachment B. Upon receipt of the information described

in Section I of Attachment B, government-authorized persons will review that information to

locate the items described in Section II of Attachment B.

       34.     It is further requested, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 4l(f)(3), that the Court authorize the officer executing the warrant to delay

notice until 30 days after the collection authorized by the warrant has been completed. There is

reasonable cause to believe that providing immediate notification of the warrant may have an

adverse result, as defined in 18 U.S.C. § 2705. Providing immediate notice to the subscriber or

user of the target telephone would seriously jeopardize the ongoing investigation, as such a

disclosure would give that person an opportunity to destroy evidence, change patterns of

behavior, notify confederates, and flee from prosecution. See 18 U.S.C. § 3103a(b)(l). As

further specified in Attachment B, which is incorporated into the warrant, the proposed search

warrant does not authorize the seizure of any tangible property. See 18 U.S.C. § 3103a(b)(2).

Moreover, to the extent that the warrant authorizes the seizure of any wire or electronic

communication (as defined in 18 U.S.C. § 2510) or any stored wire or electronic information,

there is reasonable necessity for the seizure for the reasons set forth above. See 18 U.S.C. §

3103a(b)(2).

                                         CONCLUSION

       3 5.    Based on the forgoing, it is requested that the Court issue the proposed search

warrant. This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) &

(c)(l)(A). Specifically, the Court is "a district court of the United States in the Southern District

of Ohio that has jurisdiction over the offense being investigated." 18 U.S.C. § 2711 (3)(A)(i) and


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is in a district in which the provider, Verizon Wireless is located or in which the wire or

electronic communications, records, or other information are stored. 18 U.S.C. § 2711 (3)(A)(ii).

       36.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

                                   REQUEST FOR SEALING

       3 7.    Your Affiant further requests that the Court order that all papers in support of this

application, including the affidavit and search warrant, be sealed until further order of the Court.

These documents discuss an ongoing criminal investigation that is neither public nor known to

all of the targets of the investigation. Accordingly, there is good cause to seal these documents

because their premature disclosure may seriously jeopardize that investigation.

                                                         Respectfully submitted,




                                                         Peter A. Lakes
                                                         Special Agent
                                                         Federal Bureau of Investigation



Subscribed and sworn to before me on this3 0 day of November, 2017




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                                     ATTACHMENT A

                                  Property to Be Searched

          This warrant applies to information associated with cellular telephone number

614.551 .1268 that is stored at premises owned, maintained, controlled, or operated by Verizon

Wireless, a wireless provider headquartered at 180 Washington Valley Road, Bedminster, NJ

07921 .
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                                           ATTACHMENT B

                                 Particular Things to be Seized



I. Information to be disclosed by Verizon Wireless

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Verizon Wireless, including any messages, records, files, logs, or

information that have been deleted but are still available to Verizon Wireless or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(£), Verizon Wireless is required to

disclose the following information to the government for each account or identifier listed in

Attachment A:

       a.       All voice mail, text, and multimedia messages stored and presently contained in,

       or on behalf of the account or identifier;

       b.       All existing printouts from original storage of all of the text messages described

       above;

       c.       All transactional information of all activity of the telephones and/or voicemail

       accounts described above, including log files, messaging logs, local and long distance

       telephone connection records, records of session times and durations, dates and times of

       connecting, methods of connecting, telephone numbers associated with outgoing and

       incoming calls, cell towers used, and/or locations used from [Month, Date, Year] to date

       of order;

       d.       All text messaging logs, including date and time of messages, and identification

       numbers associated with the handsets sending and receiving the message;
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II. Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 21 USC §§ 841 and 846 involving [Target Name], and others

since March 1, 2015, including, for each account or identifier listed on Attachment A,

information pertaining to the following matters:

       a.     the sale of illegal drugs, locations of meetings between the user of Target

       Telephone and others yet unknown in the Cincinnati, Ohio area, communications

       between the user of Target Telephone and others yet unknown in the Cincinnati, Ohio

       area and/or instructions on the picking up of large sums of illegal drug proceeds in and

       around the Cincinnati, Ohio area.

       b.     Records relating to who created, used, or communicated with the account or

       identifier, including records about their identities and whereabouts.




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                       CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                      BUSINESS RECORDS PURSUANT TO FEDERAL RULE
                                  OF EVIDENCE 902(11)


        I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Verizon Wireless, and my

official title is
                    - - - - - - - - - - - - -. I am a custodian of records for Verizon
Wireless. I state that each of the records attached hereto is the original record or a true duplicate

of the original record in the custody of Verizon Wireless, and that I am the custodian of the

attached records consisting of _ _ _ _ (pages/CDs/kilobytes). I further state that:

        a.          all records attached to this certificate were made at or near the time of the

        occurrence of the matter set forth, by, or from information transmitted by, a person with

        knowledge of those matters;

        b.          such records were kept in the ordinary course of a regularly conducted business

        activity of Verizon Wireless; and

        c.          such records were made by Verizon Wireless as a regular practice.

        I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.



Date                                     Signature
